






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




GEORGE WYATT HANEY and
SERVICE LLOYD'S INSURANCE
COMPANY,


                            Appellants,


v.



JERRY'S GM, LTD., d/b/a JERRY'S
CHEVROLET CADILLAC AND
JERRY'S BUICK, PONTIAC, AND GMC



                            Appellee.
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No. 08-07-00183-CV



Appeal from the


County Court at Law Number One


of Parker County, Texas 


(TC# CV06-1932 ) 



O P I N I O N


	This is an appeal from a summary judgment dismissing Appellant's premises liability and
negligent activity suit.  Appellant slipped on ice located in the parking lot of a car dealership
where he was making a vehicle exchange.  We affirm.

	Mr. Haney was employed for Cecil Atkission Motors in Kerrville, Texas transporting
dealer trade vehicles.  A dealer trade occurs when a dealership does not have the vehicle a
customer wants, it then contacts another dealership to see if they are willing to trade the vehicle
that meets its customer's needs for a vehicle that the original dealership has in stock.  On
December 9, 2005, Mr. Haney was told a trade had been completed, and that he would need to
drive to Weatherford, TX to exchange a Chevrolet Silverado.  Mr. Haney knew there had been an
ice storm in Weatherford three days before his trip.  He first encountered ice upon arriving at the
dealership.  He saw the ice, and found a spot to park in front of the showroom where the ice had
already melted.  He went in, spoke with the receptionist, Dee Pickard, who told him his contact
was not in, but had left the paperwork and keys with her.  She gave him the paperwork and keys
telling him that the "pickup is out that way," and pointed out front to her right.  Mr. Haney left
the showroom, and went to the right to look for the truck.  He stated that he was walking
carefully on the sidewalk because he did not know whether there was ice on the sidewalk.  He
stopped at the first white Silverado, checked the vehicle identification number, (VIN), but it was
not the truck he was picking up.  He went to the next white truck, and it matched the paperwork. 
The truck was parked next to the sidewalk in front of the showroom.  He put his hand on the
rearview mirror, checked for ice, and got ready to enter the truck.  As he was getting ready to
insert the key, Mr. Haney slipped on a patch of ice he did not see.  The ice was present from the
mirror to the end of the truck beneath and in between the parked vehicles.  Mr. Haney knew that
there was ice present on the lot, but did not think there was any where he was trying to get in the
truck.  When he stepped on the ice, he twisted his ankle and heard something pop.  Mr. Haney
could not keep his balance, and landed on his rear.  He scooted along the ground to get back to
the curb, and grabbed on to the truck to pull himself up.  Mr. Haney then went back to the door
of the truck to get in.  He stated he opened the door, but had to pull himself in using the steering
wheel because he could not get any traction to step up because of the ice.  He took the truck to
the front of the showroom, and transferred his belongings from the truck he drove to Weatherford
into the truck he was driving back.  He went inside to give the keys to Ms. Pickard.  He told her
he had fallen, and received a band-aid for a cut he had on his hand.  Mr. Haney went to another
Jerry's dealership to pick up the title to the truck, and then drove back to Kerrville.

	Upon his return to Kerville, he went to the emergency room, and was treated then
released.  On December 12, 2005, Mr. Haney went to see Dr. Allen, an orthopaedist.  As a result
of his fall, Mr. Haney broke his fibula and had an L2 compression fracture of his spine.

	Mr. Haney brought suit under premises defect and negligent activity theories of recovery. 
The trial court granted the Appellee's motion for summary judgment and dismissed the suit.

	The standard of review on appeal for a traditional summary judgment proceeding is
whether the successful movant at the trial level carried the burden of showing that there is no
genuine issue of material fact and that judgment should be granted as a matter of law.  See 
Tex.R.Civ.P. 166a(c); Lear Siegler, Inc. v. Perez, 819 S.W.2d 470, 471 (Tex. 1991).  The
question is not whether the summary judgment proof raises fact issues as to required elements of
the movant's cause, but rather whether the summary judgment proof establishes, as a matter of
law, that there is no genuine issue of material fact as to one or more elements of the movant's
cause or claim.  Wyatt v. Longoria, 33 S.W.3d 26, 31 (Tex.App--El Paso 2000, no pet.).  All
evidence favorable to the nonmovant must be taken as true and all reasonable inference,
including any doubt, must be resolved to the nonmovant's favor.  Nixon v. Mr. Property Mgmt.
Co., Inc., 690 S.W.2d 546, 548-49 (Tex. 1985).  To prevail on a traditional motion for summary
judgment, a defendant must prove that there is no genuine issue of material fact as to one or more
essential elements of the plaintiff's cause of action.  Id.

	An owner or occupier of land has a duty to use reasonable care to keep premises under his
control in a safe condition.  Sibai v. Wal-Mart, Stores, Inc., 986 S.W2d 702, 705-06 (Tex.App--Dallas 1999, no pet.).  The owner may be found liable for negligence in situations arising from a
premises defect and an activity or instrumentality.  Id.  In a premise liability case, the plaintiff
must prove:  (1) actual or constructive knowledge of some condition on the premises by the
owner; (2) that the condition posed an unreasonable risk of harm; (3) the owner did not exercise
reasonable care to reduce or eliminate the risk; and (4) the owner's failure to use such care
proximately caused the plaintiff's injuries.  Keetch v. Kroger Company, 845 S.W.2d 262, 264
(Tex. 1992).  Recovery on a negligent activity theory requires that the person have been injured
by or as a contemporaneous result of the activity itself rather than by a condition created by the
activity.  Clayton W. Williams, Jr., Inc. v. Olivo, 952 S.W.2d 523, 527 (Tex. 1997).  Negligent
activity and premises defect are independent theories of recovery.  Id. at 529.

	A premises owner/operator does not have a duty to protect invitees from conditions
caused by naturally forming ice on its parking lot because such an accumulation does not
constitute an unreasonably dangerous condition.  Wal-Mart Stores, Inc. v. Surratt, 102 S.W.3d
437, 445 (Tex.App.--Eastland 2003, pet. denied).  The court in Surratt expressly limited its
holding to the premise's parking lot.  Id.  The Waco Court of Appeals also found naturally
forming ice on a sidewalk to not be an unreasonably dangerous condition.  Gagne v. Sears,
Roebuck and Co., 201 S.W.3d 856, 858 (Tex.App.--Waco 2006, no pet.).  In Gagne, the Court
stated:

		Holding a landowner accountable for naturally accumulating [ice] that
remains in its natural state would be a heavy burden because [precipitation] is
beyond the control of landowners . . . .  [A]ccidents involving naturally
accumulating [ice] are bound to happen, regardless of the precautions taken by
landowners.  Generally, invitees like [Gagne] are at least as aware as landowners
of the existence of [ice] that has accumulated naturally outdoors and will often be
in a better position to take immediate precautions against injury.


Gagne, 201 S.W.3d at 858, citing M.O. Dental Lab v. Rape, 139 S.W.3d 671, 676 (Tex.
2004)(holding naturally accumulating mud to not be an unreasonably dangerous condition).

	In this case, Mr. Haney knew there was an ice storm in Weatherford right before his trip. 
He saw ice in the parking lot when he arrived at the dealership.  He drove around till he found a
spot to park where the ice had already melted.  The ice Mr. Haney slipped on was located in the
parking lot of a car dealership.  Appellant argues that the "sales lot" of the dealership is its retail
area and is distinguishable from the cases cited above.  We disagree and find that it is still just a
parking lot.  We agree with our sister courts' holding that naturally forming ice is not an
unreasonably dangerous condition that would impose liability on a premises owner/operator.  We
overrule Appellant's Issue One.

	In Issue Two, Appellant argues that the trial court erred when it ruled that the entire
negligent activity cause of action was barred as a matter of law.  The injury must be a
contemporaneous result of the activity itself rather than by a condition created by the activity. 
Timberwalk Apartments, Partners, Inc. v. Cain, 972 S.W.2d 749, 753 (Tex. 1998).  Appellant
argues that the injury occurred because of an ongoing activity, the vehicle exchange, rather than a
condition of the premises.  The only action taken by the receptionist was to point to the right
where the truck was located.  However, Mr. Haney was not injured by the result of her pointing. 
Though his brief claims that he was injured while inspecting the VIN number, the record clearly
reflects that he fell while he was trying to get in the truck.  Appellant also argues that a departure
from the customary business practices involving a dealer trade would qualify as an "activity." 
However, Mr. Haney's injury was a result of a condition of the premises not of an activity.  The
ice present in the parking lot was the cause of Mr. Haney's slip and fall.  The truck was parked in
a space along the sidewalk in front of the showroom, albeit not directly in front of the door. 
When the alleged injury is the result of the premise's condition, the injured party can only
recover under a premises defect theory.  Sibai, 986 S.W.2d at 706; Keetch, 845 S.W.2d at 264. 
There was no negligent activity on which to base liability.  We overrule Appellant's Issue Two.

	Having overruled all of Appellant's issues, we affirm the judgment of the trial court.


February 12, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Carr, JJ.

Carr, J. (Not Participating)


